                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

THE DIGITAL AGE MUSIC                                 )
PUBLISHING, LLC,                                      )
                                                      )
       Plaintiff,                                     )
                                                      )       Case No.
v.                                                    )
                                                      )       JURY DEMAND
MARK HALL, BERNHARD HERMS,                            )
PROVIDENT LABEL GROUP, LLC,                           )
CAPITOL CHRISTIAN MUSIC GROUP,                        )
INC. d/b/a SPARROW SONG, 1111                         )
MANAGEMENT, INC. d/b/a G650 MUSIC,                    )
and SONGS OF UNIVERSAL, INC.,                         )
                                                      )
       Defendants.                                    )


                                          COMPLAINT


       Plaintiff files this action for intentional infringement of its original composition titled

“Hallelujah” and its original sound recording by the same name. Defendants are writers,

publishers, record labels, and distributors of an infringing composition and infringing sound

recording titled “Hallelujah.” Defendants’ infringing composition and sound recording

incorporate note-for-note the entirety of Plaintiff’s copyrighted works, add some new material

between recitations of Plaintiff’s works, and then purport to be new works. Defendants’ actions

are a blatant violation of Plaintiff’s exclusive rights under the U.S. Copyright Act.

                                         THE PARTIES

       1.      Plaintiff is the owner of the two copyrighted works that are the subject of this

infringement action.




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       2.      Defendant Provident Label Group, LLC (“Provident”) is a Delaware limited

liability company with its principal place of business in Williamson County, Tennessee.

Provident is a Christian music publisher and record label and is one of the publishers and/or

administrators with respect to the infringing composition at issue. Provident is also the record

label with respect to the infringing sound recording at issue.

       3.      Defendant Capitol Christian Music Group, Inc. (“Capitol”) is a California

corporation that is registered to do business in Tennessee and has offices in Williamson County,

Tennessee. Capitol does business as “My Refuge Music.” Capitol is one of the publishers and/or

administrators with respect to the infringing composition at issue.

       4.      1111 Management, Inc. d/b/a G650 Music is a California corporation that does

business in Tennessee through its writer and/or agent Bernhard Herms. 1111 Management, Inc. is

one of the publishers and/or administrators with respect to the infringing composition at issue.

       5.      Songs of Universal, Inc. (“Universal”) is a California corporation that is

registered to do business in Tennessee and has offices in Davidson County, Tennessee. Universal

is one of the publishers and/or administrators with respect to the infringing composition at issue.

       6.      Mark Hall is a citizen and resident of Georgia. Mark Hall co-wrote the infringing

composition at issue and delivered it the relevant publisher and/or administrator in Tennessee.

       7.      Bernhard Herms is a citizen and resident of Tennessee. Bernhard Herms co-wrote

the infringing composition at issue.

                                 JURISDICTION AND VENUE

       8.      This Court has subject-matter jurisdiction of this cause under 28 U.S.C. §§ 1331

and 1338(a) because it arises under the U.S. Copyright Act, 17 U.S.C. § 101 et seq.




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        9.      This Court has personal jurisdiction over Defendants because Defendants are

conducting business in the State of Tennessee and have otherwise availed themselves of the

jurisdiction of this Court.

        10.     Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the

events giving rise to the claim occurred in this judicial district, and Defendants are subject to

personal jurisdiction in this district.

                                    FACTUAL ALLEGATIONS

        11.     The original composition titled “Hallelujah” was written by Griffin Kelp in 2009

(the “Composition”).

        12.     Subsequently, Mr. Kelp assigned the Composition to Asterisk Productions LLC

d/b/a Wacotron 3000 (“Wacotron 3000”), which later assigned the Composition to Plaintiff.

        13.     The sound recording embodying the Composition (the “Sound Recording”) was

created in 2012 and assigned to Wacotron 3000. The Sound Recording was subsequently

assigned to Plaintiff.

        14.     Therefore, Plaintiff owns the copyrights in and to the Sound Recording and the

Composition, including the exclusive rights to copy, distribute and make derivative works of the

same under the U.S. Copyright Act.

        15.     The Sound Recording and the Composition (collectively, the “Works”) were

registered for federal copyright protection on June 7, 2012, registration number SR0000701412.

        16.     In or around 2016, Defendants Mark Hall and Bernhard Herms wrote a

composition titled “Hallelujah” (“Infringing Composition”), which was later embodied in a

sound recording (“Infringing Sound Recording”) (collectively, the “Infringing Works”).




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       17.     Prior to writing the Infringing Composition, Mark Hall and Bernhard Herms had

access to and were familiar with the Works. In fact, Mark Hall and Bernhard Herms intentionally

incorporated the entirety of the Works into the Infringing Composition.

       18.     On September 16, 2016, Provident d/b/a Reunion Records released the Infringing

Works on the Casting Crowns album “The Very Next Thing.” Mark Hall is the lead singer of

Casting Crowns.

       19.     Prior to the September 16 release, Defendants were well aware that the Infringing

Works infringed upon Plaintiff’s copyrighted Works.

       20.     In fact, prior to the September 16 release, Defendants contacted Plaintiff to

attempt to obtain a license to use the Composition in the Infringing Sound Recording.

       21.     At that time, Plaintiff provided notice to Defendants that their Infringing Works

violated Plaintiff’s copyrights in and to the Sound Recording and Composition.

       22.     In an attempt to reach a resolution regarding Defendants’ intentional infringement

of the Works, the parties then proceeded to negotiate a resolution.

       23.     However, after Defendants did not obtain from Plaintiff the terms they wanted,

Defendants withdrew from negotiations and proceeded to intentionally and willfully, without

Plaintiff’s authorization, reproduce, distribute and create derivative works from the Works—

specifically, the Infringing Composition and the Infringing Sound Recording. As a result,

Plaintiff has been damaged.

       24.     The Infringing Composition is substantially similar to Plaintiff’s Composition

because the Infringing Composition incorporates Plaintiff’s Composition in full.




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             25.   The Infringing Composition is also substantially similar to Plaintiff’s Sound

Recording because the chorus of the Infringing Composition consists entirely of Plaintiff’s

Sound Recording.

             26.   Further, the Infringing Sound Recording is substantially similar to Plaintiff’s

Composition because the Infringing Sound Recording incorporates Plaintiff’s Composition in

full.

             27.   The Infringing Sound Recording is also substantially similar to Plaintiff’s Sound

Recording because the chorus of the Infringing Sound Recording consists entirely of Plaintiff’s

Sound Recording.

             28.   For instance, the structure of the Infringing Composition may be illustrated as

follows (A = Matter created by Hermes and Hall, and B = Plaintiff’s entire Composition):


        A                 B                 A                B               A               B

  Verse                Chorus             Verse           Chorus          Bridge          Chorus



             29.   In short, Herms and Hall took Plaintiff’s entire song, added verses and a bridge,

and the result was the Infringing Composition, which was then embodied in the Infringing Sound

Recording.

                                         CAUSES OF ACTION

             30.   Plaintiff restates and incorporates herein the allegations set forth in the foregoing

paragraphs.

             31.   Plaintiff sues all Defendants for direct copyright infringement under 17 U.S.C. §

101 et seq. as result of their actions set forth above.




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       32.     Plaintiff sues Provident, Capital, 1111 Management, Inc. d/b/a G650 Music, and

Universal for contributory and vicarious copyright infringement under 17 U.S.C. § 101 et seq.

arising out of the actions of Hall and Herms in creating the Infringing Works.

       33.     Plaintiff sues Hall and Herms for contributory and vicarious copyright

infringement under 17 U.S.C. § 101 et seq. arising out of the actions of Provident, Capital, 1111

Management, Inc. d/b/a G650 Music, and Universal in reproducing and distributing the

Infringing Works.



       WHEREFORE, Plaintiff demands:

       1.      A jury of six (6) to try this case;

       2.      All available remedies under the Copyright Act, including, without limitation,

statutory damages for the two works at issue in an amount not less than $300,000.00, actual

damages, Defendants’ profits, a permanent injunction, impoundment and destruction of the

infringing articles, pre-judgment interest, and costs and attorneys’ fees; and

       3.      That Plaintiff be awarded such other and further relief as is just.




                                               Respectfully submitted,


                                               s/ Michael A. Johnson
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